Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 1 of 46



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 15-24442-CIV-LENARD/GOODMAN

   JAMIE FAITH EDMONSON, et al.,

          Plaintiffs,

   v.

   VELVET LIFESTYLES, LLC, et al.,

          Defendants/Third Party Plaintiffs,

   v.

   JLFL CONCEPTS, LLC,
   JESSICA SWINGER, and
   JESSE SWINGER,

         Third Party Defendants.
   __________________________________/

       ORDER DENYING DEFENDANT JOY DORFMAN’S MOTION FOR
   SUMMARY JUDGMENT (D.E. 139), GRANTING IN PART AND DENYING IN
      PART PLAINTIFFS’ CORRECTED CONSOLIDATED MOTION FOR
       SUMMARY JUDGMENT (D.E. 149), AND DENYING THIRD PARTY
   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AS TO ALL COUNTS
          OF THIRD-PARTY PLAINTIFFS’ COMPLAINT (D.E. 146)

          THIS CAUSE is before the Court on Defendant Joy Dorfman’s Motion for

   Summary Judgment, (D.E. 139), filed April 4, 2017. Plaintiffs1 filed a Response on April

   18, 2017, (D.E. 145), to which Dorfman filed a Reply on April 28, 2017, (D.E. 154).


          1
                  The thirty-two named Plaintiffs are Jaime Faith Edmondson, Ana Cheri
   (Moreland), Carrie Minter, Cielo Jean Gibson, Cora Skinner, Danielle Ruiz, Eva Pepaj, Heather
   Depriest, Irina Voronina, Jesse Golden, Jessica Burciaga, Jessica (Jessa) Hinton, Joanna Krupa,
   Jordan Carver, Katerina Van Derham, Kim Cozzens, Laurie Fetter Jacobs, Lina Posada, Maria
   Zyrianova, Marketa Kazdova, Masha Lund, Maysa Quy, Paola Canas, Rachel Bernstein Koren,
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 2 of 46



          Also before the Court is Plaintiffs’ Corrected Consolidated Motion for Summary

   Judgment, (D.E. 149), filed April 19, 2017. Defendants filed a Response on May 3,

   2017, (D.E. 157), to which Plaintiffs filed a Reply on May 10, 2017, (D.E. 163).

          Also before the Court is Third Party Defendants JLFL Concepts, LLC, Jessica

   Swinger, and Jesse Swinger’s Motion for Summary Judgment as to All Counts of Third-

   Party Plaintiffs’ Complaint, (D.E. 146), filed April 19, 2017. Defendants/Third Party

   Plaintiffs Velvet Lifestyles, LLC, Joy Dorfman, and My Three Yorkies, LLC

   (collectively, “Defendants”) filed a Response on May 3, 2017, (D.E. 159), to which Third

   Party Defendants did not reply.

          Upon review of the Motions, Responses, Replies, and the record, the Court finds

   as follows.

   I.     Background

          a.     Facts2

          Defendant Velvet Lifestyles, LLC owns and operates a swingers club called

   “Miami Velvet” (hereafter, the “Club”). (Pls.’ Facts ¶¶ 3, 14.)             The Club charges

   membership fees and user fees. (Id. ¶ 15.) At any given time the Club has several


   Sandra Valencia, Sara Underwood, Tiffany Toth, Vivian Kindle, Melanie Iglesias, Lynn Geiger,
   Rae Young, and Rosa Acosta. (Am. Compl. ¶¶ 23-54.)
          2
                   The following facts are gleaned from Plaintiffs’ Corrected L.R. 56.1 Consolidated
   Statement of Undisputed Material Facts, (“Pls.’ Facts,” D.E. 148), Defendants’ Corrected
   Statement of Material Facts in Opposition to Plaintiff’s Corrected L.R. 56.1 Consolidated
   Statement of Undisputed Facts, (“Defs.’ Resp. Facts,” D.E. 162), Third-Party Defendants’
   Statement of Undisputed Material Facts, (“TP Defs.’ Facts,” D.E. 147), and Third Party
   Plaintiffs’ Statement of Material Facts in Opposition to Third Party Defendants’ L.R. 56.1
   Statement of Undisputed Facts, (“TP Pls.’ Resp. Facts,” D.E. 158). All facts are undisputed
   unless otherwise noted.
                                                  2
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 3 of 46



   thousand paying members from within Florida and beyond. (Id. ¶ 16.) The Club’s gross

   revenues exceed $1 million per year. (Id. ¶ 17.) Defendants spend thousands of dollars

   per year on advertising for the Club’s swinger events, using the internet, social media,

   and email, as well as permitting party promoters to re-post Defendants’ advertisements

   on their own social media and send “text blasts” to advertise parties. (Id. ¶ 20.)

          Each Plaintiff is a professional model, actress and/or businesswoman who earns or

   has earned a living by promoting her image, likeness and/or identity to select clients,

   commercial brands, media and entertainment outlets. (Id. ¶ 1.) Each Plaintiff relies on

   her professional reputation and own brand for modeling, acting, hosting and other

   professional opportunities and has worked to establish herself as reliable, reputable and

   professional. (Id. ¶ 2.) Each Plaintiff has provided an affidavit indicating that they have

   “been vigilant in building and protecting [their] brand from harm, taint or other

   diminution.”3 (See, e.g., id.)

          No Plaintiff has ever been employed by, contracted with, or otherwise given

   permission or consent to Defendants in any way for the use of her image by Defendants

   to advertise, promote, market or endorse Defendants’ Club or Defendants’ swinger

   lifestyle activities. (Pl.’s Facts ¶ 3.) Even if asked, no Plaintiff would, under any

   circumstances and regardless of the compensation offered, have permitted or consented to

   the use of her image by Defendants to advertise, promote, market or endorse Defendants’

   swinger lifestyle activities hosted at the Club if asked in advance. (Id. ¶ 4.)

          3
                   Although Defendants argue that there is no evidence that Plaintiffs have made any
   effort to protect their brands, other than by filing the instant lawsuit, (Def.’s Resp. Facts ¶ 2),
   they provide no evidentiary support for their statement.
                                                   3
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 4 of 46



          Nevertheless, Plaintiffs’ images were used to advertise and promote Defendants’

   commercial activities, and Plaintiffs were never paid for this unauthorized use. (Id. ¶ 5.)

   However, Defendants state that they contracted with Third Party Defendants to do their

   advertising and promotion, and that it was Third Party Defendants who produced the

   materials containing Plaintiffs’ images. (Defs.’ Resp. Facts ¶ 5.) Plaintiffs contend, and

   Defendants dispute, that Defendants exercised full control over the content, theme

   selection, creative direction and dissemination of advertisements for the Club’s swinger

   parties that were prepared by the Third Party Defendants. (Pls.’ Facts ¶ 21.) Plaintiffs

   further contend that Defendants controlled the Third Party Defendants and treated them

   as employees, giving them Miami Velvet email addresses and treating them as “salaried

   employees” for purposes of compensation. (Id. ¶ 22.) Defendants maintain that they

   treated Third Party Defendants as independent contractors. (Defs.’ Resp. Facts ¶ 22.)

          Third Party Defendant Jessica Swinger was hired as an employee of Velvet

   Lifestyles in 2010 and worked for Velvet Lifestyles for approximately five years. (TP

   Defs.’ Facts ¶ 1.) She states that she was referred to as, controlled as, and treated as an

   employee of Velvet Lifestyles in all relevant regards, even after she created JLFL

   Concepts, LLC in 2011. (Id. ¶¶ 5-12.) Defendants do not dispute that Jessica Swinger

   was an employee of Velvet Lifestyles, but they submit that she is named as a third-party

   defendant in this action in her other role as an independent contractor with Third Party

   Defendant JLFL Concepts, LLC. (TP Pls.’ Resp. Facts ¶ 1.) It is undisputed that Third

   Party Defendant Jesse Swinger was not affiliated with JLFL Concepts, LLC in any way,

   (TP Pls.’ Facts ¶ 4), but Defendants submit that “Jessica Swinger and Jesse Swinger were

                                               4
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 5 of 46



   a ‘team’ for all promotional purposes[,]” (id. ¶ 8).4 Third Party Defendants assert that

   they never entered into any contract or agreement, oral or written, with Defendants, (TP

   Defs.’ Facts ¶ 14); however, Defendants state that an oral contract existed for Third Party

   Defendants to perform marketing for Defendants. (TP Pls.’ Facts ¶¶ 13-14.)

          Defendants knew that they needed authority or releases to use a model’s image.

   (Pls.’ Facts ¶ 24.) Defendants never obtained Plaintiffs’ consent to use their images in

   their promotional advertising and had no authority to use any Plaintiff’s image for any

   purpose whatsoever. (Id. ¶ 25.) However, Defendants claim that they relied on the Third

   Party Defendants to produce all of the promotional materials and therefore would not

   have any opportunity to obtain consent from any Plaintiff for the use of any image.

   (Defs.’ Resp. Facts ¶ 25.)

          Plaintiffs state that by using each Plaintiff’s image in one or more advertisements

   for swinger lifestyle activities, Defendants confused and deceived consumers and

   potential consumers into believing that Plaintiffs knowingly permitted and consented to

   having their images used, agreed to endorse Defendants’ business and the Club’s swinger

   lifestyle activities, and were likely to participate in the swinger lifestyle advertised. (Id. ¶

   28.) Plaintiffs’ expert, Martin Buncher, conducted a marketing survey that showed:

      a. between 89% and 97% of the individuals sampled believed that Plaintiffs
         appearing in the advertisements voluntarily agreed to be in the
         advertisements. (Buncher Aff. Ex. A at 16-21);



          4
                   Coincidentally, Jessica and Jesse Swinger are a married couple whose real last
   name is Swinger, but they do not engage in a swinger lifestyle. (See Gonzalez Dep. (D.E. 148-
   44) at 27:1-9.)
                                                  5
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 6 of 46



      b. between 73% and 75% of the individuals sampled believed that Plaintiffs
         appearing in the advertisements might participate in the swinger events
         hosted by Defendants at the Club. (Buncher Aff. Ex. A at 16-21);

      c. between 87% and 94% of the individuals sampled believed the Plaintiffs
         appearing in the advertisements agreed to promote the activities and
         consumer experience provided by Defendants at the Club. (Buncher Aff.
         Ex. A at 16-21);

      d. between 85% and 92% of the individuals sampled believed that the
         Plaintiffs appearing in the advertisements represented the swinger lifestyle
         to which Defendants’ business is oriented. (Buncher Aff. Ex. A at 16-21);

      e. roughly two thirds of the individuals sampled believed that the Plaintiffs
         appearing in the advertisements probably enjoy a swinger lifestyle similar
         to that reflected in the advertisements. (Buncher Aff. Ex. A at 16-21);

      f. between 95% and 97% of the individuals sampled believed it was
         “extremely likely” the Plaintiffs appearing in the advertisements were used
         to create the impression that they represented the kind of women the
         sampled group would expect to see at the swinger lifestyle activities hosted
         at the Club. (Buncher Aff. Ex. A at 16-21);

      g. between roughly two thirds and 87% of the individuals sampled concluded
         that they were more likely to consider the possibility of attending the
         swinger lifestyle activities hosted at the Club if responding to an
         advertisement in which the model Plaintiffs appeared as opposed to
         advertisements in which the model Plaintiffs did not appear. (Buncher Aff.
         Ex. A at 16-21.)

   (Pls.’s Facts ¶ 29.)5

          It is undisputed that being associated with the Club would cause harm to a

   person’s professional reputation. (Pls. Facts ¶ 32; Defs.’ Resp. Facts ¶ 32.) It is also

          5
                  Although Defendants purport to dispute Buncher’s findings, they cite to no
   admissible evidence contradicting Buncher’s Report. They cite only to a Declaration filed by
   Darren Franclemont which was filed in opposition to a discovery motion Plaintiffs filed. (D.E.
   99-1.) Franclemont has not been designated as an expert and did not file an expert report.
   Franclemont’s Declaration, which was filed months before Buncher filed his Report, attacks an
   expert report Buncher filed in a different case currently pending in the Middle District of Florida.
   Buncher’s expert report in that case is irrelevant to this case.
                                                    6
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 7 of 46



   undisputed that “[e]ach Plaintiff is entitled to compensation[.]” (Pls.’ Facts ¶ 33; Defs.’

   Resp. Facts ¶ 33.) However, Defendants dispute the fair market valuation of Plaintiffs’

   damages. (Defs.’ Resp. Facts ¶ 34.)

          b.     Relevant procedural history

          On September 15, 2016, Plaintiffs filed the operative Amended Complaint

   accusing Defendants of: (1) False Advertising in violation of the Lanham Act, 15 U.S.C.

   § 1125(a)(1)(B) (Count I), (Am. Compl. ¶¶ 615-633); and (2) False Endorsement in

   violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A) (Count II), (id. ¶¶ 634-652).

   Plaintiffs seek damages, prejudgment interest, attorneys’ fees, and injunctive relief. On

   December 2, 2016, the Court entered an Order Denying Defendants’ Motion to Dismiss

   the Amended Complaint. (D.E. 100.)

          On December 16, 2016, Defendants filed an Answer to the Amended Complaint

   with an incorporated Third Party Complaint against the Third Party Defendants. (D.E.

   107.) The Third Party Complaint alleges: (1) Breach of Contract (Count I), (id. ¶¶ 26-

   33); (2) Fraudulent Misrepresentation (Count II), (id. ¶¶ 34-41); (3) Breach of Express

   Warranty (Count III), (id. ¶¶ 42-48); and (4) Breach of Implied Warranty (Count IV), (id.

   ¶¶ 49-55).    On July 18, 2017, the Court entered an Order Denying Third Party

   Defendants’ Motion to Dismiss Third Party Complaint. (D.E. 169.)

          Defendant Dorfman filed her Motion for Summary Judgment on April 4, 2017,

   (D.E. 139); Third Party Defendants filed their Motion for Summary Judgment on April

   19, 2017, (D.E. 146); and Plaintiffs filed their Corrected Motion for Summary Judgment



                                               7
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 8 of 46



   on April 19, 2017, (D.E. 149). Trial is scheduled for September 9, 2017, with Pretrial

   Conference scheduled for August 28, 2017. (See D.E. 137, 173.)

   II.    Legal Standard

          On a motion for summary judgment, the Court is to construe the evidence and

   factual inferences arising therefrom in the light most favorable to the nonmoving party.

   Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970). Summary judgment can be

   entered on a claim only if it is shown “that there is no genuine dispute as to any material

   fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). In

   addition, under Federal Rule of Civil Procedure 56(f)(1), the Court may grant summary

   judgment for the non-moving party “[a]fter giving notice and a reasonable time to

   respond.” Fed. R. Civ. P. 56(f)(1); see also Gentry v. Harborage Cottages-Stuart, LLLP,

   654 F.3d 1247, 1261 (11th Cir. 2011). The Supreme Court has explained the summary

   judgment standard as follows:

          [T]he plain language of [Rule 56] mandates the entry of summary
          judgment, after adequate time for discovery and upon motion, against a
          party who fails to make a showing sufficient to establish the existence of an
          element essential to that party’s case, and on which that party will bear the
          burden of proof at trial. In such a situation, there can be no genuine issue
          as to any material fact, since a complete failure of proof concerning an
          essential element of the non-moving party’s case necessarily renders all
          other facts immaterial.

   Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986) (internal quotation omitted). The

   trial court’s function at this juncture is not “to weigh the evidence and determine the truth

   of the matter but to determine whether there is a genuine issue for trial.” Anderson v.

   Liberty Lobby, Inc., 477 U.S. 242, 249-50 (1986). A dispute about a material fact is


                                                8
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 9 of 46



   genuine if the evidence is such that a reasonable fact-finder could return a verdict for the

   nonmoving party. Id. at 248; see also Barfield v. Brierton, 883 F.2d 923, 933 (11th Cir.

   1989).

            The party moving for summary judgment “always bears the initial responsibility

   of informing the district court of the basis for its motion, and identifying those portions of

   the ‘pleadings, depositions, answers to interrogatories, and admissions on file, together

   with affidavits, if any,’ which it believes demonstrate the absence of a genuine issue of

   material fact.”       Celotex, 477 U.S. at 323.     Once the movant makes this initial

   demonstration, the burden of production, not persuasion, shifts to the nonmoving party.

   The nonmoving party must “go beyond the pleadings and by [its] own affidavits, or by

   the ‘depositions, answers to interrogatories, and admissions on file,’ designate ‘specific

   facts showing that there is a genuine issue for trial.’” Id. at 324; see also Fed. R. Civ. P.

   56(c). In meeting this burden the nonmoving party “must do more than simply show that

   there is a metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v.

   Zenith Radio Corp., 475 U.S. 574, 586 (1986). That party must demonstrate that there is

   a “genuine issue for trial.” Id. at 587. An action is void of a material issue for trial

   “[w]here the record taken as a whole could not lead a rational trier of fact to find for the

   nonmoving party.” Id.

   III.     Discussion

            The Court will begin its discussion by denying Defendant Dorfman’s Motion for

   failure to comply with Local Rule 56.1. Then, it will turn to Plaintiffs’ Motion before

   considering Third Party Defendants’ Motion.

                                                 9
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 10 of 46



          a.     Defendant Dorfman’s Motion for Summary Judgment (D.E. 139)

          Local Rule 56.1 provides that “[a] motion for summary judgment and the

   opposition thereto shall be accompanied by a statement of material facts as to which it is

   contended that there does not exist a genuine issue to be tried or there does exist a

   genuine issue to be tried, respectively.” S.D. Fla. L.R. 56.1(a) (emphasis added). The

   term “shall” “normally creates an obligation impervious to judicial discretion.” Lexecon

   Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 UI.S. 26, 35 (1998) (citing

   Anderson v. Yungkau, 329 U.S. 482, 485 (1947)). “The rule is designed to help the court

   identify and organize the issues in the case.” Mann v. Taser Int’l, Inc., 588 F.3d 1291,

   1303 (11th Cir. 2009) (citing Reese v. Herbert, 527 F.3d 1253, 1268 (11th Cir. 2008)).6

   “It also preserves scarce judicial resources by preventing a court from ‘having to scour

   the record and perform time-intensive fact searching.’” State Farm Mut. Auto. Ins. Co. v.

   B&A Diagnostic, Inc., 145 F. Supp. 3d 1154, 1158 (S.D. Fla. 2015) (quoting Joseph v.

   Napolitano, 839 F Supp. 2d 1324, 1329 (S.D. Fla. 2012)). “When a party fails to comply

   with [the Rule’s] provisions it is unfair to its adversary, which has a right to know the

   factual bases of its opponent’s case and the specific foundations for those assertions of

   fact; and its conduct is adverse to the conservation of judicial resources, which are most

   efficiently deployed when the parties fulfill their adversarial functions in a rigorously

   organized, coherent fashion.” Jackson v. Broome Cty. Corr. Facility, 194 F.R.D. 436,

   437 (N.D.N.Y. 2000).


          6
                  Mann involves the Northern District of Georgia’s parallel local rule requiring
   statements of material facts in support of and opposition to motions for summary judgment.
                                                10
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 11 of 46



          Dorfman inexplicably failed to file a statement of material facts with her Motion.

   In their Response to Dorfman’s Motion, Plaintiffs pointed out that the Motion failed to

   comply with Local Rule 56.1(a), (D.E. 145 at 2), but Dorfman declined to take corrective

   measures by, for example, moving for leave to file an untimely statement of material

   facts. Instead, Dorfman’s attorney argued that he had, in fact, complied with Local Rule

   56.1: “The introduction of the Motion sets forth a clear ‘Statement’ of the exact basis for

   the Motion, as required under Local Rule 56.1, which clearly provides Plaintiffs of

   adequate notice of facts as to which Joy Dorfman posits are undisputed and material.”

   (D.E. 154 at 1.) The introduction to Dorfman’s Motion for Summary Judgment contains

   no statement of facts, clear or otherwise, as required by Local Rule 56.1. (See D.E. 139

   at 2-3.) And it certainly does not contain “specific references to pleadings, depositions,

   answers to interrogatories, admissions, and affidavits on file with the Court” as required

   by Local Rule 56.1(a)(2).7

              Dorfman’s failure to comply with Local Rule 56.1 has left the Court with no

   option but to strike or deny her Motion. See Adams Arms, LLC v. Unified Weapon

   Systems, Inc,, Case No. 8:16–cv–1503–T–33AEP, 2017 WL 1180117, at *1-2 (M.D. Fla.

   Mar. 30, 2017) (denying without prejudice motion for summary judgment for movant’s

   failure to file statement of material facts in support of motion that complied with the local

   rules); Jackson, 194 F.R.D. at 437 (same); Robertson v. Am. Airlines, Inc., 239 F. Supp.

          7
                  Perhaps compounding the error, although Plaintiffs filed a Statement of Material
   Facts in Opposition to Dorfman’s Motion for Summary Judgment, (D.E. 144), Dorfman failed to
   file a statement of material facts in reply thereto. Consequently, with regard to Dorfman’s
   Motion for Summary Judgment, the Court has only one Statement of Material Facts, and it is
   filed by the non-movant.
                                                 11
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 12 of 46



   2d 5, 9 (D.D.C. 2002) (striking with leave to refile motion for summary judgment where

   movants statement of material facts failed to comply with local rule). The Court opts to

   deny the motion, and because we are now on the eve of trial, the Court cannot grant

   Dorfman leave to refile her motion.8 This is a practical, not punitive, measure dictated by

   the circumstances. Moreover, the Court will still be able to examine whether genuine

   issues of material fact exist between Plaintiffs and Defendants, as the Parties have filed

   statements of fact in support of and opposition to Plaintiffs’ Motion for Summary

   Judgment.

          For these reasons, the Defendant Joy Dorfman’s Motion for Summary Judgment

   (D.E. 139) is DENIED.

          b.      Plaintiffs’ Motion for Summary Judgment (D.E. 149)

          Plaintiffs argue that they are entitled to summary judgment on Counts I and II of

   the Amended Complaint, as well as to their entitlement to damages, prejudgment interest,

   attorneys’ fees, and injunctive relief. (D.E. 149.)

                  1.      Count I: Lanham Act False Advertising

          Count I alleges False Advertising in violation of the Lanham Act, 15 U.S.C. §

   1125(a). (Am. Compl. ¶¶ 615-633.)             Section 43(a) of the Trademark Act of 1946

   (“Lanham Act”), codified at 15 U.S.C. § 1125(a), provides, in relevant part:

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                  Because the Court assumes that all Parties will read and observe the local rules—
   and certainly that each Party will accompany their motion for summary judgment with a
   statement of material facts—the Court does not screen motions for summary judgment when
   they are filed, and did not realize until very recently that Dorfman failed to accompany her
   Motion for Summary Judgment with a statement of material facts. Had Dorfman timely advised
   the Court of this failure and moved for leave to file a statement of material facts in support of her
   Motion for Summary Judgment, the Court would have granted her such permission.
                                                    12
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 13 of 46



          (1) Any person who, on or in connection with any goods or services, or any
          container for goods, uses in commerce any word, term, name, symbol, or
          device, or any combination thereof, or any false designation of origin, false
          or misleading description of fact, or false or misleading representation of
          fact, which-

             ...

             (B) in commercial advertising or promotion, misrepresents the nature,
             characteristics, qualities, or geographic origin of his or her or another
             person’s goods, services, or commercial activities,

          shall be liable in a civil action by any person who believes that he or she is
          or is likely to be damaged by such act.

   A claim under § 1125(a)(1)(B) is known as a “false advertising” claim. See Johnson &

   Johnson Vision Care, Inc. v. 1–800 Contacts Inc., 299 F.3d 1242, 1246 (11th Cir. 2002).

          “To succeed on a false advertising claim under § 43(a)(1)(B) of the Lanham Act, a

   plaintiff must establish that (1) the advertisements of the opposing party were false or

   misleading; (2) the advertisements deceived, or had the capacity to deceive, consumers;

   (3) the deception had a material effect on purchasing decisions; (4) the misrepresented

   product or service affects interstate commerce; and (5) the movant has been—or is likely

   to be—injured as a result of the false advertising.” Hickson Corp. v. N. Crossarm Co.,

   Inc., 357 F.3d 1256, 1260 (11th Cir. 2004) (citing Johnson & Johnson, 299 F.3d at 1247

   (citing ALPO Petfoods, Inc. v. Ralston Purina Co., 913 F.2d 958, 964 (D.C. Cir. 1990))).

                        A.     False or misleading advertising

          “The first element of a false advertising claim is ‘satisfied if the challenged

   advertisement is literally false, or if the challenged advertisement is literally true, but

   misleading.’” Osmose, Inc. v. Viance, LLC, 612 F.3d 1298, 1308 (11th Cir. 2010)


                                               13
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 14 of 46



   (quoting Johnson & Johnson, 299 F.3d at 1247).           “When determining whether an

   advertisement is literally false or misleading, courts ‘must analyze the message conveyed

   in full context,’ and ‘must view the face of the statement in its entirety . . . .’” Id.

   (quoting Johnson & Johnson, 299 F.3d at 1248). “The ambiguity of the statement at

   issue, or the lack thereof, is significant. Statements that have an unambiguous meaning,

   either facially or considered in context, may be classified as literally false.” Id. (citing

   United Indus. Corp. v. Clorox Co., 140 F.3d 1175, 1180 (8th Cir. 1998)). “As the

   meaning of a statement becomes less clear, however, and it becomes susceptible to

   multiple meanings, the statement is more likely to be merely misleading.” Id. (citing

   Time Warner Cable, Inc. v. DIRECTV, Inc. , 497 F.3d 144, 158 (2d Cir. 2007)).

          Plaintiffs initially argue that the way Defendants used their images to advertise

   and promote their Club constitutes a “literally false” advertisement because, for example,

   they superimpose Plaintiffs over different backgrounds, or place them next to other

   individuals they have never modeled with. (D.E. 149 at 8.) However, the Court has

   found no authority (and Plaintiffs have cited none) holding that the unauthorized use of a

   photograph to advertise a product or business constitutes a “literally false” advertisement.

   See Unique Sports Prods., Inc. v. Wilson Sporting Goods Co., 512 F. Supp. 2d 1318,

   1326 (N.D. Ga. 2007) (“Sampras’s picture alone is not ‘literally false.’”). A literally

   false advertisement would have stated, for example: “This model will be at Miami

   Velvet’s next swingers party.” The mere inclusion of a photograph of an individual in an

   advertisement, without more, is ambiguous.        It could represent that the individual

   endorses the product or business, that they will be attending the event being advertised,

                                               14
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 15 of 46



   that they are sponsored by the business, that they are employed by the business, or that

   they have no affiliation with the product or business but permitted the use of their

   photograph in the advertisement.

          In this case, the use of Plaintiffs’ images in Defendants’ advertising and

   promotions is ambiguous. Because it is susceptible to multiple meanings, the Court finds

   the advertisements to be misleading. See Osmose, 612 F.3d at 1309.

                        B.      Advertisements deceived or had the capacity to deceive
                                consumers

          Plaintiffs argue that “[e]ven if not ‘literally false,’ Defendants’ advertisements

   were misleading and had the capacity to deceive consumers . . . .” (D.E. 149 at 8.) “A

   plaintiff attempting to establish . . . that an advertisement is literally true but misleading,

   must ‘present evidence of deception’ in the form of consumer surveys, market research,

   expert testimony, or other evidence.” Hickson Corp., 357 F.3d at 1261 (quoting Johnson

   & Johnson, 299 F.3d at 1247).

          Plaintiffs’ consumer survey expert, Martin Buncher, conducted a marketing survey

   that included responses from two groups—(1) 300 Miami Velvet patrons,9 and (2) a

   random control group of 300 individuals. (See Buncher Report, D.E. 148-45 at 12-13.)10

   The survey showed:




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                 The respondents were randomly sampled from a list of email addresses appearing
   on Defendants’ email distribution list. (D.E. 148-45 at 12.)
          10
                   Because Buncher’s Report does not contain page numbers, the Court will cite to
   the page numbers of Docket Entry 148-45 that were automatically generated by the Court’s
   electronic filing system.
                                                 15
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 16 of 46



      a. 89% of the random sample and 97% of the patrons believed that Plaintiffs

         appearing in the advertisements voluntarily agreed to be in the advertisements.

         (Id. at 17.)

      b. 73% of the random sample and 75% of the patrons believed that Plaintiffs

         appearing in the advertisements might participate in the swinger events hosted by

         Defendants at the Club. (Id.)

      c. 87% of the random sample and 94% of the patrons believed the Plaintiffs

         appearing in the advertisements agreed to promote the activities and consumer

         experience provided by Defendants at the Club. (Id.)

      d. 85% of the random sample and 92% of the patrons believed that the Plaintiffs

         appearing in the advertisements represented the swinger lifestyle to which

         Defendants’ business is oriented. (Id.)

      e. Roughly two thirds of the individuals sampled believed that the Plaintiffs

         appearing in the advertisements probably enjoy a swinger lifestyle similar to that

         reflected in the advertisements. (Id.)

      f. 95% of the random sample and 97% of the patrons believed it was “extremely

         likely” the Plaintiffs appearing in the advertisements were used to create the

         impression that they represented the kind of women the sampled group would

         expect to see at the swinger lifestyle activities hosted at the Club. (Id. at 18.)

   (Pls.’s Facts ¶ 29.) In light of Buncher’s survey results, the Court finds that Plaintiffs

   have adequately come forward with evidence of deception. Hickson Corp., 357 F.3d at



                                                16
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 17 of 46



   1261; Johnson & Johnson, 299 F.3d at 1247; Jellibeans, Inc. v. Skating Clubs of Georgia,

   Inc., 716 F.2d 833, 844-45 (11th Cir. 1983).

          Defendants did not hire a survey expert to rebut Buncher’s findings because,

   according to Defendants, “the basic issues involving the Plaintiffs’ Lanham Act claims

   did not merit” the hiring of such an expert. (Defs.’ Resp. Facts ¶ 31.) Instead, they cite

   to the Declaration of Darren Franclemont who provided a statement in opposition to

   Plaintiffs’ efforts to discover Defendants’ membership list.11            (See D.E. 99-1.)

   Franclemont has not been designated as an expert and has provided no expert report. See

   Fed. R. Civ. P. 26(a)(2)(A) & (B) (providing that a party must disclose the identity of

   expert witnesses and the expert must provide a written report). Franclemont did not date

   his Declaration, but it was filed on the docket on November 28, 2016. (D.E. 99-1.)

   Therein, he challenges a similar expert report Buncher prepared in a similar case,

   Edmonson v. Caliente Resorts, LLC, No. 8:15-cv-02672-SDM-TBM (M.D. Fla.). (See

   id. ¶¶ 5-21.) It says nothing about Buncher’s expert report in this case, which was issued

   February 24, 2017—several months after Franclemont filed his Declaration. (See D.E.

   148-45.)

          Pursuant to Federal Rule of Civil Procedure 56(c)(4), “[a]n affidavit or declaration

   used to support or oppose a motion must be made on personal knowledge, set out facts

   that would be admissible in evidence, and show that the affiant or declarant is competent

          11
                  During the litigation, an issue arose as to whether Plaintiffs were entitled to
   discovery of Defendants’ membership list. On October 3, 2016, Magistrate Judge Jonathan
   Goodman entered an Order in which he solicited affidavits and declarations from the Parties to
   help him resolve the issue. (D.E. 84.) In Response to Judge Goodman’s Order, Defendants filed
   Franclemont’s Declaration on November 28, 2016. (D.E. 99-1.)
                                                17
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 18 of 46



   to testify on the matters stated.” Quite simply, Franclemont’s declaration is inadmissible

   in evidence because it is irrelevant to the facts at issue in this case. Mr. Buncher’s Report

   in the Caliente Resorts case has not been introduced in this case and, therefore, is not

   relevant to the issues in this case. Franclemont has not been designated as an expert in

   this case and, even if he had been, he has offered no opinion as to Mr. Buncher’s Report

   in this case. The Court will therefore not consider it for purposes of this summary

   judgment Motion. See Woodard v. Town of Oakman, Ala., 970 F. Supp. 2d 1250, 1266

   (N.D. Ala. 2013) (declining to consider declaration filed in support of summary judgment

   bcause it was irrelevant to any of the plaintiffs’ claims); EEOC v. W. Customer Mgmt.

   Grp., LLC, 899 F. Supp. 2d 1241, 1253 (N.D. Fla. 2012) (same).

          Defendants declined to depose Mr. Buncher in this case and have offered no

   evidence rebutting his findings on the deceptive nature of the advertisements at issue in

   this case. Accordingly, the Court finds that Plaintiffs have established that the subject

   advertisements deceived, or had the capacity to deceive consumers.

                        C.     Deception’s effect on purchasing decisions

          Having established that the subject advertisements deceived or had the capacity to

   deceive consumers, Plaintiffs must next establish that “the deception had a material effect

   on purchasing decisions[.]” Johnson & Johnson, 299 F.3d at 1247. This element requires

   that Plaintiffs “establish that ‘the defendant’s deception is likely to influence the

   purchasing decision.’” Id. (quoting Cashmere & Camel Hair Mfrs. Inst. v. Saks Fifth

   Ave., 284 F.3d 302, 311 (1st Cir. 2002)). “The materiality requirement is based on the

   premise that not all deceptions affect consumer decisions.” Id. at 1250.

                                                18
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 19 of 46



         Here, Buncher’s marketing survey revealed that two-thirds of the random sample

   and 88% of the patrons responded that they were more likely to consider attending the

   swinger lifestyle activities hosted at the Club if responding to an advertisement in which

   Plaintiffs appeared as opposed to advertisements in which the Plaintiffs did not appear.

   (D.E. 148-45 at 18.)     Furthermore, 69% of the patrons felt that the advertisements

   promoted an activity that was interesting and something they might engage in, while only

   7% of the random sample agreed. (Id.) Conversely, only 9% of the random sample and

   3% of the patrons felt that the models did not play a noteworthy role in motivating people

   to learn more about Miami Velvet, while 72% of the random sample and 86% of the

   patrons felt that the models played a major role. (Id. at 16.) Based on this evidence, the

   Court finds that Plaintiffs have adequately come forward with evidence that the deceptive

   advertisements had a material effect on purchasing decisions.

         Defendants failed to offer any admissible evidence to rebut Buncher’s findings.

   Accordingly, the Court finds that Plaintiffs have established that Defendants’ deceptive

   advertisements had a material effect on purchasing decisions.

                       D.     Affects interstate commerce

         Next, a claim for false advertising under the Lanham Act requires Plaintiffs to

   establish that the “misrepresented product or service affects interstate commerce[.]”

   Johnson & Johnson, 299 F.3d at 1247.

         Defendants concede that that “the Club spent thousands of dollars per year in

   advertising for Club events, using the internet, including social media and email[.]”

   (Defs.’ Resp. Facts ¶ 20.) They further concede that “Defendants’ advertisements for

                                              19
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 20 of 46



   Club activities had a fundamentally commercial purpose, which was to increase

   membership and attendance at said events.” (Id. ¶ 23.) Finally, it is undisputed that “the

   Club has several thousands of members paying membership fees at any one time who

   come from both inside and outside the state of Florida.” (Id. ¶ 16.) Based on these

   undisputed facts, the Court finds that Plaintiffs have presented sufficient evidence that the

   Club substantially affects interstate commerce.       See 907 Whitehead Street, Inc. v.

   Secretary of U.S. Department of Agriculture, 701 F.3d 1345, 1351 (11th Cir. 2012) (“[I]t

   is well-settled that, when local businesses solicit out-of-state tourists, they engage in

   activity affecting interstate commerce.”)12 (citing Camps v. Newfound/Owatona, Inc. v.

   Town of Harrison, Me., 520 U.S. 564, 573 (1997)); United States v. Ballinger, 395 F.3d

   1218, 1226 (11th Cir. 2005) (noting that telecommunications networks are channels of

   interstate commerce); United States v. Hornaday, 392 F.3d 1306, 1311 (11th Cir. 2004)

   (“The internet is an instrumentality of interstate commerce.”) (citations omitted).

          Defendants offered no response to Plaintiffs’ argument that the Club substantially

   affects interstate commerce. Accordingly, the Court finds that Plaintiffs have established

   that the Club substantially effects interstate commerce.

                        E.     Plaintiffs’ injury

          Finally, a claim for false advertising under the Lanham Act requires Plaintiffs to

   show that they have been, or are likely to be, injured as a result of the false advertising.

   Johnson & Johnson, 299 F.3d at 1247.


          12
                The Court adopts the analysis of 907 Whitehead Street in its Order Denying
   Defendants’ Motion to Dismiss First Amended Complaint. (See D.E. 100 at 13-15.)
                                                20
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 21 of 46



          In his deposition testimony as Velvet Lifestyles’ corporate representative, Randy

   Dorfman, conceded that being publicly associated with a swingers club like Miami

   Velvet could be harmful to one’s professional reputation. (Dorfman Dep., D.E. 148-35 at

   236-39.) Furthermore, it is undisputed that “Defendants knew they needed authority or

   releases to use a model’s image,” (Defs.’ Resp. Facts ¶ 24), that they “never obtained

   consent to use Plaintiffs’ images,” and “had no authority to use any Plaintiff’s image for

   any purpose whatsoever,” (Pls.’ Facts ¶ 25). (See Dorfman Dep. at 216:18-23 (“We had

   no authority to use those images.”); id. at 234:21-24 (“I stipulated we 100 percent did not

   have the right to use those images. I’m not denying it.”). Moreover, it is undisputed that

   Plaintiffs are entitled to be compensated for at least the fair market value for the use of

   the photos, (see Pls.’ Facts ¶ 6; Defs.’ Facts ¶ 6), but Defendants’ contest the amount of

   the fair market value associated with each Plaintiff, (Defs.’ Facts ¶ 6).

          Plaintiffs’ damages expert, Stephen Chamberlin, issued a 108-page Report

   evaluating and retroactively valuing the fair market value “of all presently known image

   infringements, in the aggregate,” at $5,415,000. (Chamberlin Report (D.E. 148-33) at 7.)

   This “fair market measure of damages provides only a baseline valuation and does not

   account for the damage to each Plaintiff’s professional standing and publicity value.”

   (Id.) Mr. Chamberlin believes that such “damage to professional standing and publicity

   value,” in the aggregate, totals $16,245,000. (Id. at 8.) Defendants did not depose Mr.

   Chamberlin.

          Defendants’ damages expert, Mark Zablow, submitted a report stating that Mr.

   Chamberlin’s fair market value “is not being calculated scientifically nor has it taken into

                                                21
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 22 of 46



   the [sic] main factors and deal points of a traditional Talent contract.” (Zablow Report

   (D.E. 157-1) at 2.) Zablow also disagrees with Chamberlin’s decision to value Plaintiffs

   as “traditional models or celebrities” and not as “social media models” who are typically

   compensated “at a much lower rate than Mr. Chamberlain [sic] is assigning to his

   science.” (Id.) Zablow also states that Chamberlin’s “damage-to-brand” calculation is

   “grossly overestimated . . . .” (Id.)

          In any event, based on the Parties submissions and the record evidence, it is

   undisputed that Plaintiffs have been injured, and the only dispute is the valuation of those

   damages. Accordingly, the Court finds that Plaintiffs have established that they have

   been injured as a result of the false advertising.

          The Court further finds that based on the foregoing, there is no genuine issue of

   material fact as to Defendants’ liability for false advertising under the Lanham Act, as

   Plaintiffs have established all five elements of a false advertising claim and Defendants

   have offered no evidence in rebuttal (except as to the value of damages, which is not an

   element of the claim).      Accordingly, the Court finds that Plaintiffs are entitled to

   summary judgment as to Count I.

                 2.      Count II: Lanham Act False Endorsement

          In Count II, Plaintiffs allege false endorsement under the Lanham Act, 15 U.S.C. §

   1125(a). The Lanham Act provides, in relevant part:

          (1) Any person who, on or in connection with any goods or services, or any
          container for goods, uses in commerce any word, term, name, symbol, or
          device, or any combination thereof, or any false designation of origin, false
          or misleading description of fact, or false or misleading representation of
          fact, which-

                                                 22
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 23 of 46




             (A) is likely to cause confusion, or to cause mistake, or to deceive as to
             the affiliation, connection, or association of such person with another
             person, or as to the origin, sponsorship, or approval of his or her goods,
             services, or commercial activities by another person . . . .

         shall be liable in a civil action by any person who believes that he or she is
         or is likely to be damaged by such act.

   Certain claims under § 1125(a)(1)(A) are known as “false endorsement” claims. See

   Univ. of Ala. Bd. of Trs. v. New Life Art, Inc., 683 F.3d 1266, 1278 (11th Cir. 2012). In

   the Eleventh Circuit, a claim for false endorsement is generally treated as a claim for

   trademark infringement or “false association.” See id. (“[W]e have never treated false

   endorsement and trademark infringement claims as distinct under the Lanham Act.”);

   Tana v. Dantanna’s, 611 F.3d 767, 777 n.9 (11th Cir.2010) (“[W]e have . . . never

   recognized a separate claim of false endorsement, distinct from trademark infringement

   under § 43(a) . . . .”)); SCQuARE Int’l, Ltd. v. BBDO Atlanta, Inc., 455 F. Supp. 2d

   1347, 1372 (N.D. Ga. 2006) (equating “false endorsement” claim with “false association”

   claim). “To establish a prima facie case of trademark infringement under § 43(a), a

   plaintiff must show ‘(1) that it had trademark rights in the mark or name at issue and (2)

   that the other party had adopted a mark or name that was the same, or confusingly similar

   to its mark, such that consumers were likely to confuse the two.’” Tana, 611 F.3d at 773

   (quoting Lone Star Steakhouse & Saloon, Inc. v. Longhorn Steaks, Inc., 106 F.3d 355,

   358 (11th Cir. 1997)).




                                              23
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 24 of 46



                         A.    Trademark rights

         With respect to the first element, “the ‘mark’ at issue is the plaintiff’s identity.”

   ETW Corp. v. Jireh Publ’g, Inc., 332 F.3d 915, 926 (6th Cir. 2003) (citation omitted).

   However, Plaintiffs do not have to prove that they have valid trademarks in their image to

   prevail on their false endorsement claim. See Unique Sports Prods., 512 F. Supp. 2d at

   1325. “As the Sixth Circuit explained in Parks, ‘even though Rosa Parks’ name might

   not be eligible for registration as a trademark . . . a viable cause of action also exists

   under § 43(a) if consumers falsely believed that Rosa Parks . . . sponsored or approved

   [defendant’s] song.’” Id. (quoting Parks v. LaFace Records, 329 F.3d 437, 447 (6th Cir.

   2003)); see also Waits v. Frito-Lay, Inc., 978 F.2d 1093, 1107 (9th Cir. 1992) (upholding

   Tom Waits’ Lanham Act claim against Frito-Lay as a result of an unauthorized

   commercial suggesting that Waits endorsed Frito-Lay’s products); Allen v. Nat’l Video,

   Inc., 610 F. Supp. 612, 627 (S.D.N.Y. 1985) (“The [Lanham] Act’s prohibitions . . . have

   been held to apply to misleading statements that a product or service has been endorsed

   by a public figure.”); Geisel v. Poynter Prods., Inc., 283 F. Supp. 261, 267 (S.D.N.Y.

   1968) (“[A] ‘false representation’, whether express or implied, that a product was

   authorized or approved by a particular person is actionable under Section 43(a)[.]”).

   Plaintiffs will still have a viable cause of action if consumers were likely to believe,

   falsely, that Plaintiffs sponsored or approved the activities Defendants’ advertisements

   were promoting.      Id. (“Plaintiff . . . has a viable cause of action under § 43(a) if

   consumers were likely to believe, falsely, that Pete Sampras sponsored or approved the

   70 Ball Pick-up”).

                                              24
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 25 of 46



          Defendants argue that the Lanham Act requires a “recognizable brand” to support

   a claim of false endorsement, and argue that “Plaintiffs[] are simply not the ‘recognizable

   celebrities’ they claim themselves to be[.]” (D.E. 157 at 6-7.) Although many of the

   cases involving this type of false endorsement/false association claim under the Lanham

   Act use the term “celebrity,” the question of whether celebrity status is required to prevail

   was not an issue in those cases because the plaintiff’s celebrity status was undisputed:

   “Rosa Parks was a civil rights icon;[13] Tiger Woods is the most famous golfer of his

   generation;[14] Woody Allen perhaps the most famous film maker of his.[15]” Arnold v.

   Treadwell, 642 F. Supp. 2d 723, 734 (E.D. Mich. 2009).

          Courts specifically addressing the question of whether celebrity status is required

   to prevail on a Lanham Act false endorsement claim have answered in the negative. See

   id. at 734-35; Lancaster v. The Bottle Club, Case No.: 8:17-cv-634-T-33JSS, 2017 WL

   3008434, at *6-7 (M.D. Fla. July 14, 2017). In Arnold, the court relied on the analysis in

   Condit v. Star Editorial, Inc., 259 F. Supp. 2d 1046, 1051-52 (E.D. Cal. 2003), which

   observed that “‘a majority of circuits require a commercial interest in a mark, that is, at a

   minimum, a present intent to commercialize a mark,’ and that in order to sustain her false

   association claim, the plaintiff must ‘at least allege an existing intent to commercialize an

   interest in identity.’” Id. (quoting Condit, 259 F. Supp. 2d at 1052). Acknowledging that

   some non-celebrities, like the aspiring model in Arnold, have such a present intent to

          13
                 Parks v. LaFace Records, 329 F.3d 437 (6th Cir. 2003).
          14
                 ETW Corp. v. Jireh Publ’g, Inc., 332 F.3d 915, 922 (6th Cir. 2003).
          15
                 Allen v. Nat’l Video, Inc., 610 F. Supp. 612 (S.D.N.Y. 1985)
                                                 25
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 26 of 46



   commercialize their identity or image, the court in Arnold found that a plaintiff bringing

   a false endorsement claim under the Lanham Act need not establish that she is a

   “celebrity.”   Id. at 733-35.    Rather, she need only establish “an existing intent to

   commercialize an interest in identity.” Id. at 734 (quoting Condit, 259 F. Supp. 2d at

   1052).

            In Lancaster—a case that is factually indistinguishable from the one at bar—the

   plaintiffs were twenty models and/or actresses who, like Plaintiffs in this case, earned “a

   living by promoting her image and likeness to select clients, commercial brands, media

   and entertainment outlets, as well as relying on her reputation and own brand for

   modeling, acting, hosting, and other opportunities.” 2017 WL 3008434, at *1. The lead

   defendant in Lancaster—like Miami Velvet in this case—was a swingers club. Id. In

   promoting the club, the defendants used the plaintiffs’ images in various advertisements

   without compensating the plaintiffs and without the plaintiffs’ permission. Id. at *2. On

   the defendants’ motion to dismiss, the defendants argued that the plaintiffs’ images were

   not protectable marks. Id. at *6. Relying on Arnold, the court found the plaintiffs need

   not establish that they are celebrities, and that they had adequately alleged that they “have

   utilized their images and likenesses for commercial purposes, as shown by their modeling

   careers described in the Amended Complaint.” Id. at *7. Accordingly, the plaintiffs’

   false endorsement claim survived the motion to dismiss. Id.

            The Court agrees with Arnold and Lancaster and finds that Plaintiffs need not

   establish that they are celebrities to prevail on their Lanham Act false endorsement claim;

   instead, they are required to show “an existing intent to commercialize an interest in

                                                26
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 27 of 46



   [their] identit[ies].” Arnold, 642 F. Supp. 2d at 734 (quoting Condit, 259 F. Supp. 2d at

   1052).

            It is undisputed that “[e]ach Plaintiff is a professional model, actress and/or

   businesswoman who earns or has earned a living by promoting her image, likeness and/or

   . . . to select clients, commercial brands, media and entertainment outlets . . . .” (Pls.’

   Facts ¶ 1; Defs.’ Resp. Facts ¶ 1.) It is further undisputed that “[e]ach Plaintiff relies on

   her professional reputation and own brand for modeling, acting, hosting and other

   professional opportunities . . . .” (Pls.’ Facts ¶ 2; Defs.’ Resp. Facts ¶ 2.) The record

   evidence supports these undisputed facts. (See Pls.’ Decls. (D.E. 148-1 – 148-32) ¶ 8)

   (declaring that the use of each Plaintiffs’ image “is subject to considerable negotiation,”

   and their image “may only be used with my express authority subject to the terms and

   conditions of the agreement(s) I have entered into with that particular client.”);

   (Chamberlin Report, D.E. 148-33 at 10, 18-112 (describing each Plaintiffs’ professional

   experience and assigning a commercial value to the images used by Defendants).)

            Therefore, the Court finds that Plaintiffs have established the first element of a

   false endorsement claim. Arnold, 642 F. Supp. 2d at 735.

                         B.     Consumer confusion

            The second element of a Lanham Act false endorsement/false association claim is

   “that the other party had adopted a mark or name that was the same, or confusingly

   similar to its mark, such that consumers were likely to confuse the two.’” Tana, 611 F.3d

   at 773 (quoting Lone Star Steakhouse, 106 F.3d at 358). “While nearly identical to the

   likelihood-of-confusion standard . . . for federal trademark infringement claims [under §

                                                27
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 28 of 46



   32 of the Lanham Act], § 43(a) of the Lanham Act ‘is broader . . . in that it covers false

   advertising or description whether or not it involves trademark infringement.’” Fla. Int’l

   Univ. Bd. of Trs. v. Fla. Nat’l Univ., Inc., 830 F.3d 1242, 1265 (11th Cir. 2016); (quoting

   Babbit Elecs., Inc. v. Dynascan Corp., 38 F.3d 1161, 1181 (11th Cir. 1994)).

         It is undisputed that Defendants used each Plaintiff’s image without permission.

   (See Pls.’ Facts ¶¶ 3, 5; Defs.’ Resp. Facts ¶¶ 3, 5.) Furthermore, as discussed in

   Sections III(b)(1)(B) & (C), supra, Plaintiffs’ consumer survey expert, Martin Buncher,

   found that Defendants’ unauthorized use of Plaintiffs’ images caused confusion as to the

   affiliation, connection, or association between Plaintiffs and Defendants’ business, or as

   to Plaintiffs’ sponsorship or approval of Defendants’ business. For example:

      a. 87% of the random sample and 94% of the patrons believed that Plaintiffs agreed

         to promote Miami Velvet;

      b. 89% of the random sample and 97% of the patrons believed that Plaintiffs had

         agreed to be in the advertisement;

      c. 73% of the random sample and 75% of the patrons believed that Defendants were

         using Plaintiffs’ images to make them think that Plaintiffs might participate in

         some of the events being advertised;

      d. 85% of the random sample and 92% of the patrons felt Plaintiffs represent the

         swinger lifestyle to which Defendants’ business is oriented; and

      e. Roughly two-thirds of both samples believed Plaintiffs probably enjoy a swinger

         lifestyle.



                                                28
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 29 of 46



   (Buncher Report, D.E. 148-45 at 17.) Defendants failed to offer any admissible evidence

   contradicting Buncher’s findings.

          Because the undisputed evidence establishes that (1) Plaintiffs have a present

   intent to commercialize their image, and (2) Defendants’ use of Plaintiffs’ image was

   confusing to consumers, the Court finds that Plaintiffs are entitled to summary judgment

   on Count II.

                  3.    Damages, prejudgment interest, attorneys’ fees, and injunctive
                        relief

          Next, Plaintiffs argue that they are entitled to summary judgment on the issue of

   damages, prejudgment interest, attorneys’ fees, and injunctive relief. (D.E. 149 at 14-17.)

                        A.     Damages

          With respect to damages, Plaintiffs rely on the report of their damages expert,

   Stephen Chamberlin.       (Id. at 14.)   However, as previously discussed in Section

   III(b)(1)(E), supra, Defendants have presented conflicting evidence as to Plaintiffs’

   damages. (See Zablow Report (D.E. 157-1) at 2.)

          Chamberlin assigned a total fair market value of $5,415,000 for actual damages—

   i.e., “of all presently known image infringements, in the aggregate[.]” (Chamberlin

   Report (D.E. 148-33) at 12.) This number represents the amount Defendants would have

   had to pay Plaintiffs’ to use their images in the manner they did had they gone through

   normal negotiations. (Id.) Chamberlin assigned a $16,245,000 fair market value of

   damage to Plaintiffs’ professional standing and publicity value. (Id.)




                                               29
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 30 of 46



          Defendants’ expert, Mark Zablow, submitted a report stating that Mr.

   Chamberlin’s fair market value “is not being calculated scientifically nor has it taken into

   the [sic] main factors and deal points of a traditional Talent contract.” (Zablow Report

   (D.E. 157-1) at 2.) Zablow also disagrees with Chamberlin’s decision to value Plaintiffs

   as “traditional models or celebrities” and not as “social media models” who are typically

   compensated “at a much lower rate than Mr. Chamberlain [sic] is assigning to his

   science.” (Id.) Zablow also states that Chamberlin’s “damage-to-brand” calculation is

   “grossly overestimated . . . .” (Id.) Although Plaintiffs argue that Zablow failed to offer

   a fair market value that contradicts Chamberlin’s, (D.E. 163 at 8), it is not Defendants’

   burden to prove the amount of damages. Accordingly, the Court finds that a genuine

   issue of material fact exists as to the amount of Plaintiffs’ damages, and Plaintiffs’

   request for summary judgment on the issue of damages is DENIED.

                         B.    Prejudgment interest

          Without a damages figure, the Court cannot calculate prejudgment interest.

   Accordingly, the Plaintiffs’ request for summary judgment on the amount of prejudgment

   interest is DENIED.

                         C.    Attorneys’ fees

          Under Section 35(a) of the Lanham Act, “[t]he court in exceptional cases may

   award reasonable attorney fees to the prevailing party.” 15 U.S.C. § 1117(a). The

   Eleventh Circuit has stated that “[s]uch an award is available in actions under section

   43(a) of the Lanham Act, 15 U.S.C. § 1125(a) . . . .” Montgomery v. Noga, 168 F.3d



                                                 30
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 31 of 46



   1282, 1304 (11th Cir. 1999) (citing Rickard v. Auto Publisher, Inc., 73 F.2d 450, 458

   (11th Cir. 1984)).

          “While Congress has not further defined ‘exceptional,’ the legislative history of

   the Act suggests that exceptional cases are those where the infringing party acts in a

   malicious, fraudulent, deliberate, or willful manner.” Burger King Corp. v. Pilgrim’s

   Pride Corp., 15 F.3d 166, 168 (11th Cir. 1994) (some internal quotation marks omitted).

   “An ‘exceptional’ case may also be one in which ‘evidence of fraud or bad faith exists.’”

   Tobinick v. Novella, 207 F. Supp. 3d 1332, 1341 (S.D. Fla. 2016) (quoting Tire

   Kingdom, Inc. v. Morgan Tire & Auto, Inc., 253 F.3d 1332, 1335 (11th Cir. 2001)).

   “Based on Burger King and Tire Kingdom, it was previously understood that, in the

   Eleventh Circuit, ‘[b]ad faith or fraud [was] necessary for a case to be ‘exceptional’’

   under the Lanham Act.”        Id. (quoting Cardinal Freight Carriers, Inc. v. Cardinal

   Logistics, Inc., 155 F. Supp. 2d 1352, 1354 (S.D. Fla. 2001)).

          However, in a recent case “considering an identically worded fee provision in the

   Patent Act, the Supreme Court rejected a standard from the Federal Circuit that required

   evidence of misconduct and subjective bad faith.” Id. (citing Octane Fitness, LLC v.

   ICON Health & Fitness, Inc., __ U.S. __, 134 S. Ct. 1749, 1756 (2014)). “Although the

   Eleventh Circuit has not yet considered the effect of Octane Fitness on its Lanham Act

   ‘exceptional case’ jurisprudence, district courts in this circuit and other circuit courts

   have consistently held that a showing of subjective bad faith or fraud is no longer

   required.” Id. (citations omitted).



                                               31
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 32 of 46



          The Court has reviewed the Parties’ arguments and the relevant case law and has

   determined that this case is not the “exceptional” case envisioned by Congress when it

   enacted 15 U.S.C. § 1117(a). There is nothing exceptional about a lawsuit over the

   unauthorized use of a model’s stock photograph to promote a business.            Although

   Plaintiffs believe that Defendants’ conduct was willful, the deposition testimony of Mr.

   Dorfman’s and the Club’s manager, Jason Silvera, casts doubt as to Defendants’

   willfulness. (See Dofman Dep., D.E. 148-35; Silvera Dep., D.E. 148-38.)

          For example, Mr. Dorfman testified that when he learned that a model had

   complained about the unauthorized use of her image, he “went berserk” and told Jessica

   Swinger to “[t]ake it down immediately. Don’t ever do it again.” (D.E. 148-35 at 99:11-

   13; see also id. at 99:19-24; 100:1-2.) He further testified that he assumed that Jessica

   Swinger had licenses to use the images. (Id. at 101:3-4.) Mr. Dorfman was adamant that

   he took control of the situation and “put the fear of God into” Jessica Swinger so that she

   would never do it again. (Id. at 101:25; 102:1.) Silvera testified that when he first heard

   about the instant lawsuit, he contacted Jessica Swinger and there was a “lot of shouting.”

   (D.E. 148-38 at 37:8.) He “was really pissed off[.]” (Id. at 39:2.)

          Plaintiffs argue that willfulness can be inferred from the fact that after Mr.

   Dorfman learned that they had no license to use the images, he suggested altering the

   images to bypass use restrictions.      (D.E. 149 at 15.)      However, Mr. Dorfman’s

   suggestions were never implemented. (Dorfman Dep. at 177:2-6.)

          Finally, Plaintiffs argue that willfulness can be inferred because Defendants failed

   to remove some of the offending advertisements from the internet even after receiving a

                                               32
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 33 of 46



   cease and desist letter. (D.E. 149 at 15-16.) However, this appears to have been an

   oversight because when Defendants received the letter they instructed their promoter “to

   make sure everything was off the site.” (Dorfman Dep, at 194:4-7.)

          The Lanham Act permits courts to exercise discretion and award attorneys’ fees in

   “exceptional cases[.]” 15 U.S.C. § 1117. The Court finds that this is not an exceptional

   case. Accordingly, Plaintiffs request for summary judgment on the issue of attorneys’

   fees is DENIED.

                        D.     Injunctive Relief

          Finally, Plaintiffs move for summary judgment as to their request for injunctive

   relief. (D.E. 149 at 17.) Defendants argue that “there is no need for such extraordinary

   relief at this point, since the Defendants have already removed any offending images.”

   (D.E. 157 at 18.)

          Under the Lanham Act, “a plaintiff is entitled to permanent injunctive relief if the

   plaintiff succeeds on the merits of his or her claims and if the equities involved favor

   injunctive relief.” PetMed Express, Inc. v. MedPets.Com, Inc., 336 F. Supp. 2d 1213,

   1223 (S.D. Fla. 2004) (citing Neva, Inc. v. Christian Duplications Int’l, Inc., 743 F. Supp.

   1533, 1548 (M.D. Fla. 1990)). The Lanham Act explicitly provides for this remedy:

          [C]ourts . . . shall have power to grant injunctions, according to the
          principles of equity and upon such terms as the court may deem reasonable,
          to prevent the violation of any right of the registrant of a mark registered in
          the Patent and Trademark Office or to prevent a violation under subsection
          (a), (c), or (d) of section 1125 of this title.

   15 U.S.C. § 1116(a).      “Under traditional equitable principles, a plaintiff seeking a

   permanent injunction must demonstrate (1) it has suffered an irreparable injury; (2)

                                                33
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 34 of 46



   remedies available at law, such as monetary damages, are inadequate to compensate for

   that injury; (3) considering the balance of hardships between the plaintiff and defendant,

   a remedy in equity is warranted; and (4) the public interest would not be disserved by a

   permanent injunction.” Angel Flight of Ga., Inc. v. Angel Flight of Am., Inc., 522 F.3d

   1200, 1208 (11th Cir. 2008) (citing eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388,

   391 (2006)). “[I]n ‘ordinary trademark infringement actions . . . complete injunctions

   against the infringing party are the order of the day.’” Id. (quoting SunAmerica Corp. v.

   Sun Life Assur. Co. of Canada, 77 F.3d 1325, 1336 (11th Cir. 1996)). “The reason is

   simple: the public deserves not to be led astray by the use of inevitably confusing

   marks—even in cases in which more than one entity has a legal right to use the mark.”

   Id. (citing SunAmerica Corp., 77 F.3d at 1336-37).

          In Angel Flight of Georgia, the Eleventh Circuit held that because the district court

   found that confusion was inevitable, it “was entitled to enjoin [the defendants] from uses

   of the mark that would continue to cause public confusion.” Id. Here, too, the Court

   found that Plaintiffs established consumer confusion from Defendants use of their

   images. (See supra Section III(b)(2)(B).)

          In PedMed Express, the court concluded that even though the defendants

   voluntarily discontinued using the infringing domain names, a permanent injunction was

   appropriate “to prevent Defendants from resuming their infringing use.” 336 F. Supp. 2d

   at 1233 (citing Nutrivida, Inc. v. Inmuno Vital, Inc., 46 F. Supp. 2d 1310, 1319 (S.D. Fla.

   1998) (granting permanent injunctive relief pursuant to section 1116(a) “in order to

   reduce the threat that Nutrivida will resume its infringing activities.”); Pepsico, Inc. v.

                                               34
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 35 of 46



   Cal. Sec. Cans, 238 F. Supp. 2d 1172, 1178 (C.D. Cal. 2002) (granting permanent

   injunction because “[t]hough it appears unlikely . . . that Defendant’s allegedly wrongful

   conduct continued after Plaintiffs initiated this action or will continue in the future, in the

   absence of opposition from the non-appearing defendant, it cannot be said that it is

   absolutely clear that Defendant’s allegedly wrongful behavior has ceased and will not

   begin again.”)

          Based on this authority, the Court finds that Plaintiffs have established that they

   are entitled to a permanent injunction barring Defendants from using their images to

   promote their commercial interests.        Accordingly, Plaintiffs’ request for summary

   judgment as to injunctive relief is GRANTED.

          c.     Third Party Defendants’ Motion for Summary Judgment (D.E. 146)

          Third Party Defendants argue that they are entitled to summary judgment as to all

   counts of the Third Party Complaint. (See D.E. 146.) They argue that they were

   Defendants’ employees and, as such, Defendants would be liable to Plaintiffs under the

   doctrine of respondeat superior. (Id. at 3-7.) They further argue that even if they are

   deemed to be independent contractors, they are entitled to summary judgment on each

   count of the Third Party Complaint. (Id. at 7-12.)

                 1.     Whether Third Party Defendants were employees

          “Everyone agrees” that if Third Party Defendants are considered employees of

   Defendants, then they cannot be liable for the claims asserted against them in the Third

   Party Complaint. (D.E. 159 at 5.)



                                                 35
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 36 of 46



          Here, it is undisputed that Jessica Swinger was an employee of Defendants.16

   (See, e.g., TP Pls.’ Facts ¶¶ 1-2.) And the undisputed facts and evidence establish that

   Jessica Swinger was, at least for some purposes, Defendants’ employee. (See TP Defs.’

   Facts ¶¶ 1-5, 9-10, 12-13.)

          What is disputed is whether, in addition to being Defendants’ employee, Jessica

   Swinger, along with Jesse Swinger, separately entered into an oral contract with

   Defendants to be independent contractors who, through JLFL Concepts, LLC, produced

   Defendants’ promotional materials. (See TP Pls.’s Facts ¶¶ 1-2, 5-7, 10.) For example,

   although Jessica Swinger received a W-2 as an employee of Defendants, (TP Pls.’ Facts ¶

   2), Third Party Defendants also received a Form 1099 from Defendants, (id.). According

   to the Internal Revenue Service’s website:

          Employers use Form W-2, Wage and Tax Statement, to:

                  Report wages, tips, and other compensation paid to an employee.
                  Report the employee’s income and social security taxes withheld and
                   other information.
                  Report wage and withholding information to the employee and
                   the Social Security Administration. The Social Security
                   Administration shares the information with the Internal Revenue
                   Service.

          Payers use Form 1099-MISC, Miscellaneous Income, to:

                  Report payments made in the course of a trade or business to a person
                   who’s not an employee or to an unincorporated business.
                  Report payments of $10 or more in gross royalties or $600 or more in
                   rents or compensation. Report payment information to the IRS and the
                   person or business that received the payment.


          16
                    The Parties do not indicate whether Jesse Swinger was also an employee of
   Defendants.
                                                 36
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 37 of 46



   Internal     Revenue    Service,   Form    1099-MISC      &    Independent     Contractors:

   https://www.irs.gov/help-resources/tools-faqs/faqs-for-individuals/frequently-asked-tax-

   questions-answers/small-business-self-employed-other-business/form-1099-misc-

   independent-contractors/form-1099-misc-independent-contractors (last visited July 27,

   2017). Defendants argue that this shows they were independent contractors. (D.E. 159 at

   3.)

          Having reviewed the Parties’ submissions and the relevant evidence, the Court

   finds that a genuine issue of material fact exists as to whether Third Party Defendants

   were independent contractors for purposes of producing Defendants’ promotional

   materials.

                  2.      Count I: Breach of oral contract

          Third Party Defendants argue that even if they are deemed to be independent

   contractors, they are entitled to summary judgment on Count I of the Third Party

   Complaint because there was no binding oral contract. (D.E. 146 at 7.) They argue that

   Defendants have not and cannot produce any evidence of such an oral contract, and that

   all of the evidence shows instead that Third Party Defendants were Defendants’

   employees. (Id.)

          “The elements of a breach of contract action are: (1) a valid contract; (2) a

   material breach; and (3) damages.” Terzis v. Pompano Paint & Body Repair, Inc., 127

   So. 3d 592, 596 (Fla. Dist. Ct. App. 2012) (quoting Merin Hunger Codman, Inc. v.

   Wackenhut Corr. Corp., 941 So. 2d 396, 398 (Fla. Dist. Ct. App. 2006)). “An oral

   contract, such as the one in this case, is subject to the basic requirements of contract law

                                               37
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 38 of 46



   such as offer, acceptance, consideration and sufficient specification of essential terms.”

   St. Joe Corp. v. McIver, 875 So. 2d 375, 381 (Fla. 2004) (citations omitted). A plaintiff

   can establish the existence of a valid oral contract by showing, for example, “the date the

   contract was executed, the nature of the work required to be performed pursuant to the

   contract, and the contract’s payment terms.” Aspsoft, Inc. v. WebClay, 983 So. 2d 761,

   768 (Fla. Dist. Ct. App. 2008) (citing Carole Korn Interiors, Inc. v. Goudie, 573 So. 2d

   923 (Fla. Dist. Ct. App. 1990)). “A party seeking to establish the existence of an oral

   contract has a burden to present evidence which preponderates by the greater weight.”

   Theocles v. Lytras, 518 So. 2d 936, 937 (Fla. Dist. Ct. App. 1987) (citations omitted).

          Here, Third Party Defendants argue only that there is no evidence regarding the

   essential terms of the oral contract.    (D.E. 146 at 8.)    They argue that they made

   discovery requests upon Defendants seeking information or documents that would

   support Defendants’ allegation of a valid oral contract, but Defendants never provided

   any information in response to these requests.17 (Id.)

          The only references to an oral contract in Defendants’ Statement of Material Facts

   in Opposition to Third Party Defendants’ Statement of Undisputed Facts are in

   Paragraphs 13 and 14. (D.E. 160 ¶¶ 13-14.) Those paragraphs cite no record evidence;

   instead, they cite to Paragraphs 2 and 3 of Defendants’ Statement of Facts. (See id.)

   Paragraph 2, in turn, cites to the deposition transcripts of Randy Dorfman and the Club’s

   manager, Jason Silvera. (Id. ¶ 2 (citing Dorfman Dep. at 42-44, 48-51; Silvera Dep. at

          17
                 On July 12, 2017, Third Party Defendants filed a Motion to Strike Pleadings
   and/or Dismiss as Discovery Sanctions for Failure to Comply with Discovery Requests. (D.E.
   166.) That Motion is currently pending the Court’s consideration.
                                               38
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 39 of 46



   30-37).) Paragraph 3 also cites Dorfman and Silvera’s deposition transcripts; it further

   cites the deposition transcript of Marilyn Gonzalez, as well as declarations executed by

   Marilyn Gonzalez, Joy Dorfman, and Jason Silvera. (Id. ¶ 3 (citing Dorfman Dep. at 22-

   32, 42, 92-96, 126; Silvera Dep. at 30-35, 38-39, 55, 98, 100-101, 104-105, 114-115, 125,

   154, 176; Gonzalez Dep. at 27, 52; Joy Dorfman Decl. (D.E. 139-1); Silvera Decl. (D.E.

   139-2), Gonzalez Decl. (D.E. 139-3).)

          The pages of Dorfman’s deposition transcript to which Defendants cite say

   nothing about an oral contract.      The closest Dorfman comes to identifying an oral

   contract is stating that Jesse Swinger was an independent contractor and “I think he was a

   DJ, and I believe he did the social media[.]” (Dorfman Dep. at 50.)

          The pages of Jason Silvera’s deposition transcript to which Defendants cite state

   that Jessica Swinger was a subcontractor, not an employee, who “handled all our

   promotion, on-line promotion, making up the flyers, and I think that’s it. All of our on-

   line marketing.” (Silvera Dep. at 30:21, 31:3-5.) Silvera also testified that Jesse Swinger

   was a “[c]ontractor” who “handled Twitter and Facebook, social media.” (Id. at 31:21-

   22, 24.)   Silvera further testified that he did not remember how much Defendants

   compensated Jessica Swinger for her services. (Id. at 33:7.) He testified that Jessica

   Swinger was paid a flat fee, but the fee was not memorialized in any written document.

   (Id. at 34:20-24.) “We asked her how much would it cost to make flyers and do all of

   this, and she told us the price and we agreed to it.” (Id. at 35:2-4.)

                Q        So what – what were the terms?           What did she – what
          responsibilities did she have to –


                                                 39
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 40 of 46



                A     To make the flyers, to promote the club on social media,
         Twitter or Facebook, SDC, and other – other websites pertaining to our
         club. She handled all the marketing.

   (Id. at 35:16-21.) Later in the deposition, Silvera surmised that Defendants paid Jessica

   Swinger approximately $500 per week, “or maybe a little bit more, not sure.” (Id. at

   98:15-16.)

         Marilyn Gonzalez’s deposition testimony says nothing about an oral contract, but

   indicates that Jessica Swinger “was involved in marketing[,]” (Gonzalez Dep. (D.E. 148-

   44) at 27:15-16), and that Jesse Swinger “DJ’d at the club a few times,” (id. at 27:25).

   Gonzalez’s Declaration indicates that Jessica Swinger would provide the promotional

   materials for the parties Gonzalez threw at the Club. (D.E. 139-3 ¶ 6.)

         Joy Dorfman’s Declaration says nothing about any agreement with Third Party

   Defendants, oral or otherwise. (See D.E. 139-1.)

         Jason Silvera’s Declaration avers that he “would provide ‘party themes’ or

   concepts, and the dates for such ‘party themes’ and concepts, via email, to Jessica L.

   Swinger . . . and her business partner, Jesse Swinger . . . , whom I knew provided graphic

   artist and promotional services to the Club through their entity, JLFL Concepts, LLC.

   (D.E. 139-2 ¶ 5.) “I viewed [the Swingers’] services to be provided through an oral

   contract between the Club and JLFL Concepts, LLC, through the actions of [the

   Swingers].” (Id. ¶ 7.) “It was my understanding that [the Swingers], through their

   entity, JLFL Concepts, LLC, pursuant to the oral contract, were to take full responsibility

   to produce and make all decisions relating to Miami Velvet’s promotional, advertising,

   marketing and endorsement activities . . . .” (Id. ¶ 8.) “As a specific term and condition

                                               40
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 41 of 46



   of the oral contract, the Club required [the Swingers], through their entity, JLFL

   Concepts, LLC, to verify that any and all images or photographs used for any and all

   promotional, advertising, marketing and endorsement activities . . . would be fully

   licensed and authorized, with appropriate releases and/or permission for their use.” (Id. ¶

   9.)

          In light of the foregoing, the Court finds that Defendants have produced sufficient

   evidence that the Parties entered into an alleged valid oral contract. See Carole Korn

   Interiors, 573 So. 2d 924 (finding that the plaintiff had adequately alleged breach of oral

   contract where the plaintiff alleged it had entered into oral contract with defendants for

   interior design services, that company had provided agreed services, that defendants

   breached contract by refusing to remit payment, and that company suffered damages).

   Accordingly, the Court finds that a genuine issue of material fact exists as to whether an

   oral contract existed between Defendants and Third Party Defendants, and Third Party

   Defendants’ request for summary judgment as to Count I is DENIED.

                 3.     Count II: Fraudulent misrepresentation

          Count III of the Third Party Complaint alleges that “[a]s a specific term and

   condition of the oral contract, [Defendants] required that any and all images or

   photographs used for any and all promotional, advertising, marketing and endorsement

   activities . . . would be fully licensed and authorized, with appropriate releases and/or

   permission for their use.” (TP Compl. ¶ 37.) The Third Party Complaint alleges that

   “Third Party Defendants agreed to said specific term and condition and represented that

   they would comply with same.”      (Id. ¶ 38.) Defendants allege that they relied on this

                                               41
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 42 of 46



   representation and, to the extent any of Plaintiffs’ Lanham Act allegations are true, Third

   Party Defendants’ made fraudulent misrepresentations. (Id. ¶ 40.)

          Third Party Defendants argue that Count II pleads a theory of fraud in the

   inducement of an oral contract, not fraud sounding in tort. (D.E. 146 at 9.) They argue

   that because there was no oral contract, as alleged in Count I of the Third Party

   Complaint, there can be no finding that there was a fraudulent misrepresentation. (D.E.

   146 at 9 (citing Wellcraft Marine Corp. v. Outdoor World, Inc., 533 So. 2d 775, 776 (Fla.

   Dist. Ct. App. 1988) (“Count II, by its clear terms, pleads a theory of fraud in the

   inducement of an oral contract, not fraud sounding in tort. Because the jury specifically

   found that no oral contract existed between the parties, its finding of fraud in the

   inducement of an oral contract cannot be sustained.”)).)

          However, the Court has found that there is a genuine issue of material fact as to

   whether an oral contract existed between the Parties. (See supra Section III(c)(2).)

   Accordingly, Third Party Defendants argument fails to the extent it relies on the non-

   existence of an oral contract.

          Third Party Defendants further argue that Defendants have failed to present any

   evidence concerning any misrepresentations of the type described in Count II of the Third

   Party Complaint. (D.E. 146 at 10.) In their Response brief, Defendants cite no statement

   from their Statement of Material Facts, and cite no evidence establishing any fraudulent

   misrepresentations.

          Under Florida law, to establish fraud in the inducement, a plaintiff must show: (1)

   a misrepresentation of a material fact; (2) that the representor of the misrepresentation

                                               42
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 43 of 46



   knew or should have known of the statement’s falsity; (3) that the representor intended

   that the representation would induce another to rely and act on it; and (4) that the plaintiff

   suffered injury in justifiable reliance on the representation.        Hillcrest Pac. Corp. v.

   Yamamura, 727 So. 2d 1053, 1055 (Fla. Dist. Ct. App. 1999) (citing Lou Bachrodt

   Chevrolet, Inc. v. Savage, 570 So. 2d 306 (Fla. Dist. Ct. App. 1990)).

          As previously noted, Jason Silvera’s Declaration provides that “[a]s a specific

   term and condition of the oral contract, the Club required [the Swingers], through their

   entity, JLFL Concepts, LLC, to verify that any and all images or photographs used for

   any and all promotional, advertising, marketing and endorsement activities . . . would be

   fully licensed and authorized, with appropriate releases and/or permission for their use.”

   (D.E. 139-2 ¶ 9.) If the jury finds that there is a valid oral contract, it could also find that

   Third Party Defendants fraudulently induced Defendants to enter the agreement by

   misrepresenting that they would obtain licenses and permission for all images used.

   Accordingly, the Court finds that a genuine issue of material fact exists, and Third Party

   Defendants’ request for summary judgment as to Count II is DENIED

                 4.      Counts III & IV: Breach of express and implied warranty

          Finally, Third Party Defendants argue that they are entitled to summary judgment

   as to Counts III and IV of the Third Party Complaint, (D.E. 146 at 10-12), which allege

   breach of express and implied warranty, respectively, (D.E. 107 at 44-47).

          With respect to Count III, Third Party Defendants argue that express warranties

   must be clearly and unambiguously stated. (D.E. 146 at 10.) With respect to Count VI,



                                                 43
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 44 of 46



   Third Party Defendants argue that claims for implied warranty are not cognizable in

   Florida for a contract for services. (Id.)

          As to Count III, it appears that Third Party Defendants argue that no express

   warranty could have existed because there was no contract. (Id. at 10-11.) However,

   having previously concluded that genuine issues of material fact exist as to whether a

   contract existed between Defendants and Third Party Defendants, (see supra Section

   III(c)(2)), Third Party Defendants’ Motion for Summary Judgment as to Count III is

   DENIED.

          Plaintiffs argue that even if there was a valid contract, they are entitled to

   summary judgment as to Count IV because implied warranties only attach to contracts for

   the sale of goods or property. (D.E. 146 at 11 (citing Marini v. Town & Country Plaza

   Merch. Assoc., 314 So. 2d 180, 182 (Fla. Dist. Ct. App. 1975) (“An implied warranty

   arises from a Sale of goods or property though it has on some occasions been extended to

   a lease.”)).) Defendants argue that “Third Party Defendants entered into an oral contract

   to provide services and goods.” (D.E. 159 at 13.)

          The Third Party Complaint alleges an oral contract in which Third Party

   Defendants agreed to provide a service—specifically, “to take full responsibility to

   produce and make all decisions relating to Miami Velvet’s promotional, advertising,

   marketing and endorsement activities[.]” (TP Compl. ¶ 21.) The Court finds that the

   alleged contract contemplates the sale of goods in the form of advertisements and

   promotional materials. The Court further finds that a genuine issue of material fact exists

   as to whether Third Party Defendants breach an implied warranty that any images used in

                                                44
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 45 of 46



   the advertisements and promotional materials would be fully licensed and authorized.

   Therefore, Third Party Defendants’ Motion for Summary Judgment as to Count IV is

   DENIED.

   IV.   Conclusion

         Accordingly, it is ORDERED AND ADJUDGED that:

         1.    Defendant Joy Dorfman’s Motion for Summary Judgment (D.E. 139) is

               DENIED;

         2.    Plaintiffs’ Corrected Consolidated Motion for Summary Judgment (D.E.

               149) is GRANTED IN PART AND DENIED IN PART consistent with

               this Order;

         3.    Plaintiffs are entitled to summary judgment as to liability for Count I

               (Lanham Act False Advertising) and Count II (Lanham Act False

               Endorsement);

         4.    Plaintiffs are entitled to summary judgment as to their request for injunctive

               relief; Plaintiffs shall have thirty days from the date of this Order to file a

               Proposed Permanent Injunction with the Court; if Defendants object to any

               provision of the Proposed Permanent Injunction, they shall have seven days

               to file Objections;




                                              45
Case 1:15-cv-24442-JEM Document 174 Entered on FLSD Docket 07/28/2017 Page 46 of 46



           5.   Third Party Defendants’ Motion for Summary Judgment (D.E. 146) is

                DENIED..

           DONE AND ORDERED in Chambers at Miami, Florida this 28th day of July,

   2017.


                                       ____________________________________
                                       JOAN A. LENARD
                                       UNITED STATES DISTRICT JUDGE




                                         46
